Case 2:18-cv-10501-DML-RSW ECF No. 24 filed 05/16/18   PageID.92    Page 1 of 8



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
AARON SMITH, individually and on
behalf of all similarly situated
individuals,

                Plaintiff,

      v.

SILVERSTAR DELIVERY, LTD.,            Case No. 2:18-cv-10501-DML-RSW
AMAZON.COM, LLC, and
AMAZON.COM SERVICES, INC.,            Hon. David M. Lawson
                                      Magistrate Judge R. Steven Whalen
                Defendants.

Laura E. Reasons (pro hac vice)       Daniel L. Villaire (P60132)
Amy E. Keller (P74015)                HOWARD & HOWARD
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Case 2:18-cv-10501-DML-RSW ECF No. 24 filed 05/16/18         PageID.93    Page 2 of 8



      JOINT STATUS REPORT AND RULE 26(f) DISCOVERY PLAN

      Plaintiff Aaron Smith (“Plaintiff”) and Defendants Silverstar Delivery, LTD

(“Silverstar”), Amazon.com, LLC, and Amazon.com Services, Inc. (“Amazon”)

(collectively, “Defendants”) (together, the “Parties”), by and through their attorneys

and in accordance with the Federal Rules of Civil Procedure and this Court’s April

27, 2018 Notice to Appear (Dkt. 22), hereby submit the following Joint Status Report

and Rule 26(f) Discovery Plan, as follows:

I.    Meet and Confer.

      The Parties met and conferred regarding the discovery plan via telephone on

May 15, 2018.

II.   Brief Summary of the Case and Issues.

      Silverstar contracts with Amazon to provide delivery services to Amazon’s

customers.   Plaintiff is a former delivery driver who was paid by Defendant

Silverstar and delivered packages to Amazon’s customers in Michigan.

      Plaintiff filed a Complaint against Defendants alleging violations of the Fair

Labor Standards Act (“FLSA”).          Plaintiff claims that Defendants are joint

employers, and that Defendants failed to pay him and others similarly situated to

him overtime for hours worked over 40 hours per week, instead paying him and

others a flat daily rate, without regard to the actual number of hours worked and




                                          2
Case 2:18-cv-10501-DML-RSW ECF No. 24 filed 05/16/18            PageID.94     Page 3 of 8



without payment of any overtime premium. He also alleges Defendants failed to

keep adequate time records in violation of the FLSA.

       Defendants maintain that Plaintiffs’ claims are without merit and deny

engaging in any unlawful conduct. Amazon further denies that it had an employment

relationship with Plaintiff or any of the putative collective action members.

III.   Subject Matter Jurisdiction.

       This Court has subject matter jurisdiction under 28 U.S.C. § 1331.

IV.    Relationship to Other Cases.

       Not Applicable.

V.     Discovery Plan.

       The Parties have discussed engaging in targeted, informal discovery in an

attempt to settle this matter. As noted below, the Parties intend to engage in private

facilitation on a mutually-agreeable date in late July or early August 2018, pending

an agreement between the Parties related to tolling the statute of limitations for the

putative class.

       If the Parties are unable to resolve this matter at facilitation, the Parties agree

to the following deadlines:

       A.    Rule 26(a)(1) Disclosures: August 1, 2018

       B.    Completion of Fact Discovery: April 1, 2019

       C.    Dispositive Motions: May 15, 2019

                                            3
Case 2:18-cv-10501-DML-RSW ECF No. 24 filed 05/16/18          PageID.95   Page 4 of 8



      D.     Responses to Dispositive Motions: June 19, 2019

      E.     Replies to Dispositive Motions: July 17, 2019

VI.   Necessity of Amendments to Pleadings and Motions to Join Additional
      Parties.

      Plaintiff is contemplating filing a second amended complaint (“SAC”) which

adds an additional plaintiff and defendant. If Plaintiff decides to do so, Plaintiff

expects to file either the SAC, with Defendants’ written consent, or a motion for

leave of Court to file the SAC, within 14 days. The Parties reserve the right to later

amend or seek leave to amend the pleadings, consistent with Fed. R. Civ. P. 15 and

any applicable Rules or Orders of the Court.

VII. Expert Discovery and Testimony.

      Neither Plaintiff nor Defendants have yet determined whether expert

discovery and/or testimony will be necessary in this case. However, the Parties

believe that expert testimony may be necessary regarding Plaintiff’s claimed

damages. In the interest of efficiency and conserving the Parties’ resources, the

Parties request that the Court schedule a status hearing to occur after the resolution

of any dispositive motions to set expert discovery deadlines, including expert

disclosures pursuant to Fed. R. Civ. P. 26(a)(2), if necessary.

VIII. Anticipated Motions.

      Defendants anticipate filing a motion for summary judgment after the close of

fact discovery. Plaintiff has not yet determined whether he will file a dispositive
                                          4
Case 2:18-cv-10501-DML-RSW ECF No. 24 filed 05/16/18         PageID.96    Page 5 of 8



motion, but reserves the right to do so at the appropriate time. Plaintiff intends to

file a motion for conditional certification and notice.

IX.   Case Evaluation and Mediation.

      The Parties believe Alternative Dispute Resolution is worthwhile at this time.

The Parties have discussed participating in a private facilitation with a facilitator

who has experience resolving employment disputes on a mutually-agreeable date in

late July or early August 2018 should the Parties reach an agreement regarding

tolling the statute of limitations for the putative class.

X.    Limitations on Discovery.

      Before conditional certification, the Parties agree to adhere to the limitations

on discovery as set forth in the Federal Rules of Civil Procedure; however, they

reserve the right to move the Court for additional discovery if necessary. Following

the Court’s ruling on Plaintiff’s anticipated motion for conditional certification and

notice, the Parties will meet and confer and propose a joint discovery plan relating

to discovery of the opt-in plaintiffs, as appropriate.

XI.   Issues Relating to Discovery of Electronically Stored Information.

      The Parties agree to meet-and-confer regarding ESI procedures and protocols

by August 15, 2018, including the form in which ESI would be produced, should

this matter proceed to fact discovery.

XII. Issues Relating to Preservation of Discoverable Information.

                                            5
Case 2:18-cv-10501-DML-RSW ECF No. 24 filed 05/16/18           PageID.97    Page 6 of 8



        The Parties are not aware of any issues relating to preservation of discoverable

information.

XIII. Estimated Length of Trial.

        The Parties estimate that trial in this matter would last approximately four

days.

Dated: May 16, 2018

AARON SMITH                                 SILVERSTAR DELIVERY, LTD.

By: /s/ Laura E. Reasons                    By: /s/ Daniel Villaire (w/permission)
(w/permission)                                  One of Its Attorneys
    One of Its Attorneys


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Case 2:18-cv-10501-DML-RSW ECF No. 24 filed 05/16/18   PageID.98   Page 7 of 8



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                                     7
Case 2:18-cv-10501-DML-RSW ECF No. 24 filed 05/16/18           PageID.99   Page 8 of 8



                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on May 16, 2018 a copy of the foregoing

document was filed electronically through the Court’s CM/ECF system, which will

send a notice of electronic filing to counsel of record for Plaintiff:

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